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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,       )
on behalf of itself and all others        )
similarly situated,                       )
     Plaintiff                            )
                                          ) C.A. No. 11-10230-MLW
             v.                           )
                                          )
STATE STREET BANK AND TRUST COMPANY,      )
     Defendants.                          )

ARNOLD HENRIQUEZ, MICHAEL T.              )
COHN,WILLIAM R. TAYLOR, RICHARD A.        )
SUTHERLAND, and those similarly           )
situated,                                 )
     Plaintiff                            )
                                          )
             v.                           ) C.A. No. 11-12049-MLW
                                          )
STATE STREET BANK AND TRUST COMPANY,      )
     Defendants.                          )

THE ANDOVER COMPANIES EMPLOYEE            )
SAVINGS AND PROFIT SHARING PLAN, on       )
behalf of itself, and JAMES               )
PEHOUSHEK-STANGELAND and all others       )
similarly situated,                       )
     Plaintiff                            )
                                          )
             v.                           ) C.A. No. 12-11698-MLW
                                          )
STATE STREET BANK AND TRUST COMPANY,      )
     Defendants.                          )

                                 ORDER

WOLF, D.J.                                               June 13, 2019
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     On   April   22,   2019,   the   Competitive   Enterprise   Institute

("CEI") moved to withdraw, and the Hamilton Lincoln Law Institute

("HamLinc") moved to appear in this case. See Dkt. No. 540. As CEI

explained, the Center for Class Action Fairness ("CCAF") moved

from CEI to HamLinc.

     On May 31, 2019, the court provided a preliminary agenda for

the hearing scheduled to begin on June 24, 2019. See Dkt. No. 543.

On June 7, CEI moved, on behalf of CCAF, for clarification of the

May 31, 2019 Order. See Dkt. No. 545. In essence, CCAF seeks to

clarify whether it may participate at the upcoming hearing.

     CEI's Motion for Leave to Participate as Guardian ad Litem or

Amicus (Dkt. No. 126) remains under advisement. However, the court

has permitted CCAF, through CEI, to participate as amicus in the

last two hearings in this case, on October 15, 2018, and November

7, 2018. As the court noted during the November 7, 2018 hearing,

it has found CCAF's participation to date "very helpful." Nov. 7,

2018 Hr'g Tr. at 92:21 (Dkt. No. 519). Furthermore, CCAF has

submitted a memorandum on several of the issues the court intends

to address at the upcoming hearing. See Dkt. No. 522.

     Finally, on June 11, 2019, Customer Class Counsel moved for

leave to call Brian T. Fitzpatrick to testify as a witness at the

upcoming hearing. See Dkt. No. 546.




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     In view of the foregoing, it is hereby ORDERED that:

     1.   CEI's Motion to Withdraw and HamLinc's Motion to Appear

(Docket No. 540) is ALLOWED.

     2.   CEI's   Motion   for   Clarification   (Docket   No.   545)   is

ALLOWED. CCAF, through HamLinc, may participate as amicus in the

hearing scheduled to begin on June 24, 2019.

     3.   Customer Class Counsel shall, by June 17, 2019, at 4:00

p.m., file an affidavit by Fitzpatrick describing his proposed

testimony in detail. The court will decide Customer Class Counsel's

Motion to Call Additional Witness (Docket No. 546) after reviewing

Fitzpatrick's affidavit.

     4.   The May 31, 2019 Sequestration Order (Docket No. 544)

shall apply to Fitzpatrick.




                                            /s/ Mark L. Wolf
                                       UNITED STATES DISTRICT COURT




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